

Christiana Trust v Rice (2020 NY Slip Op 05313)





Christiana Trust v Rice


2020 NY Slip Op 05313


Decided on October 2, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 2, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, NEMOYER, CURRAN, AND DEJOSEPH, JJ.


109 CA 19-00735

[*1]CHRISTIANA TRUST, A DIVISION OF WILMINGTON SAVINGS FUND SOCIETY, FSB, AS TRUSTEE FOR NORMANDY MORTGAGE LOAN TRUST, SERIES 2013-13, PLAINTIFF-APPELLANT,
vJOHNNY L. RICE, DEFENDANT-RESPONDENT, ET AL., DEFENDANTS. (APPEAL NO. 1.) 






FRIEDMAN VARTOLO LLP, NEW YORK CITY (ZACHARY GOLD OF COUNSEL), FOR PLAINTIFF-APPELLANT. 
WOODRUFF LEE CARROLL P.C., SYRACUSE (WOODRUFF LEE CARROLL OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from an order of the Supreme Court, Onondaga County (Donald A. Greenwood, J.), entered October 20, 2017. The order, insofar as appealed from, granted the cross motion of defendant Johnny L. Rice for leave to amend the answer. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Christiana Trust v Rice ([appeal No. 3] — AD3d — [Oct. 2, 2020] [4th Dept 2020]).
Entered: October 2, 2020
Mark W. Bennett
Clerk of the Court








